     Case 21-30589-MBK           Doc 1516      Filed 02/17/22 Entered 02/17/22 10:06:19             Desc Main
                                             Document      Page 1 of 7
 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)



                                                                           Order Filed on February 17, 2022
                                                                           by Clerk
                                                                           U.S. Bankruptcy Court
                                                                           District of New Jersey




 In Re:                                                    Case No.:            21-30589
  LTL Management LLC
                                                           Hearing Date:


  LTL Management LLC                                       Adv. No.:            21-03032

                                                           Judge:              Michael B. Kaplan

                            Plaintiff(s)
 v.
   Those Parties Listed on Appendix A to the Complaint
   and John and Jane Does 1-1000, et al.

                              Defendant(s)

                                CAPTION
JOINT STIPULATION AND AGREED ORDER      OF ORDER
                                    BETWEEN  THE OFFICIAL COMMITTEE OF TALC
CLAIMANTS I, THE OFFICIAL COMMITTEE OF TALC CLAIMANTS II, AND THE DEBTOR
REGARDING THE EVIDENTIARY RECORD IN PRELIMINARY INJUNCTION ADVERSARY
PROCEEDING AND TRIAL ON MOTIONS TO DISMISS


          The relief set forth on the following pages, numbered two (2) through ___________
          is hereby ORDERED.




 DATED: February 17, 2022
Case 21-30589-MBK        Doc 1516     Filed 02/17/22 Entered 02/17/22 10:06:19              Desc Main
                                    Document      Page 2 of 7



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b) BAILEY GLASSER LLP
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Case 21-30589-MBK          Doc 1516     Filed 02/17/22 Entered 02/17/22 10:06:19      Desc Main
                                      Document      Page 3 of 7



   In re:
                                                      Chapter 11
   LTL MANAGEMENT LLC,
                                                      Case No.: 21-30589 (MBK)
                           Debtor.
                                                      Honorable Michael B. Kaplan
  LTL MANAGEMENT, LLC,
  Plaintiff,                                          Adv. Pro. No.: 21-03032 (MBK)
  vs.

  THOSE PARTIES LISTED ON
  APPENDIX A TO COMPLAINT and
  JOHN AND JANE DOES 1-1000,

   Defendants.

             JOINT STIPULATION AND AGREED ORDER BETWEEN
             THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I,
     THE OFFICIAL COMMITTEE OF TALC CLAIMANTS II, AND THE DEBTOR
     REGARDING THE EVIDENTIARY RECORD IN PRELIMINARY INJUNCTION
        ADVERSARY PROCEEDING AND TRIAL ON MOTIONS TO DISMISS

            The relief set forth on the following pages is hereby ORDERED.




                                                  2
Case 21-30589-MBK        Doc 1516      Filed 02/17/22 Entered 02/17/22 10:06:19              Desc Main
                                     Document      Page 4 of 7



        This stipulation and agreed order (this “Stipulation”) is made on this 16th day of

 February, 2022 (the “Stipulation Date”) by the Official Committee of Talc Claimants I (the

 “TCC I”), the Official Committee of Talc Claimants II (the “TCC II”), Aylstock, Witkin, Kreis &

 Overholtz, PLLC (“AWKO”), and LTL Management LLC, the debtor and debtor-in-possession

 (the “Debtor”), regarding the evidentiary record for the (i) Motion of the Official Committee of

 Talc Claimants to Dismiss Debtor’s Chapter 11 Case [Docket No. 632] and Motion to Dismiss

 Bankruptcy Case filed by counsel on behalf of certain personal injury tort plaintiffs represented by

 the law firm of Arnold & Itkin LLP [Docket No. 766] (the “Motions to Dismiss”), and (ii) Debtor’s

 Motion for an Order (I) Declaring that the Automatic Stay Applies to Certain Actions Against

 Non-Debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary

 Restraining Order Pending a Final Hearing [Adv. Docket No. 2] (the “PI Motion”) filed in

 adversary proceeding no. 21-03032 (the “Adversary Proceeding”) in the above-captioned chapter

 11 case (the “Case”).

                                               Recitals

        WHEREAS, on October 14, 2021, the Debtor filed a voluntary petition for chapter 11 relief

 in the United States Bankruptcy Court for the Western District of North Carolina, Charlotte

 Division (the “NC Bankruptcy Court”) [Docket No. 1];

        WHEREAS, on October 21, 2021, the Debtor commenced the Adversary Proceeding by

 filing a complaint seeking (i) a declaratory judgment that the automatic stay applies to the assertion

 and prosecution of talc claims against the Debtor, its non-debtor affiliates, identified retailers,

 insurance companies, and certain others parties and (ii) a preliminary injunction and temporary

 restraining order enjoining such actions [Adv. Docket No. 1];

        WHEREAS, on October 21, 2021, the Debtor filed the PI Motion;



                                                   3
Case 21-30589-MBK        Doc 1516      Filed 02/17/22 Entered 02/17/22 10:06:19              Desc Main
                                     Document      Page 5 of 7



        WHEREAS, on November 4-5, 2021, the NC Bankruptcy Court held a hearing on the PI

 Motion (the “NC PI Hearing”) and considered evidence submitted by the parties and admitted at

 the hearings, including declarations, testimony and exhibits filed with the NC Bankruptcy Court

 or presented at the hearings, including but not limited to (a) any deposition transcripts, including

 all exhibits thereto; and (b) any pleadings filed in support of or opposition to the PI Motion,

 including all exhibits thereto (the “NC PI Evidence”);

        WHEREAS, on November 15, 2021, the NC Bankruptcy Court entered an Order Granting

 the Debtor’s Request for Preliminary Injunctive Relief [Adv. Docket No. 102] (the “NC PI

 Order”);

        WHEREAS, on November 16, 2021, the NC Bankruptcy Court entered an order

 transferring venue of the Case to the United States Bankruptcy Court for the District of New Jersey

 (the “Court”) [Docket No. 416];

        WHEREAS, in this Court, the Debtor filed a supplemental motion in support of the PI

 Motion [Adv. Dkt. 128], the former Committee objected [Adv. Dkt. 142] and the Debtor filed a

 reply [Adv. Dkt. 146] (such pleadings and all exhibits attached thereto collectively, the “NJ PI

 Evidence” and together with the NC PI Evidence, the “PI Evidence”);

        WHEREAS, on January 15, 2022, the Court entered the Bridge Order Extending

 Termination Date of Order Granting The Debtor’s Request for Preliminary Injunctive Relief [Adv.

 Docket No. 157], that extended the Termination Date set forth in paragraph 4 of the NC PI Order

 to February 28, 2022, unless modified or extended by further order of the Court;

        WHEREAS, commencing on February 14, 2022, the Court will hold a trial (the “MTD

 Trial”) on the Motions to Dismiss wherein the Court will consider evidence submitted by the

 parties and admitted at the trial, including declarations, testimony and exhibits filed with the Court



                                                   4
Case 21-30589-MBK         Doc 1516      Filed 02/17/22 Entered 02/17/22 10:06:19             Desc Main
                                      Document      Page 6 of 7



 or presented at the trial, including but not limited to: (a) any deposition transcripts, including all

 exhibits thereto; and (b) any pleadings filed in support of or opposition to the Motions to Dismiss,

 including all exhibits thereto (the “MTD Evidence”);

        WHEREAS, the Court will hold a hearing on the PI Motion on February 18, 2022 (the “PI

 Hearing”); and

        WHEREAS, the parties desire a combined record for the PI Hearing and MTD Trial that

 includes both the PI Evidence and the MTD Evidence.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

 APPROVAL BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO ORDERED

 AS FOLLOWS:

        1.        The PI Evidence and the MTD Evidence shall be part of the record for the PI

 Hearing, and the Court may consider such evidence in connection with the PI Motion.

        2.        The PI Evidence and the MTD Evidence shall be part of the record for the MTD

 Trial, and the Court may consider such evidence in connection with the Motions to Dismiss.

        3.        The Stipulation shall not prejudice the rights of any party with respect to the Order

 Regarding: (A) Debtor’s Motion for an Order Determining That the United States Trustee’s Notice

 of “Reconstituted and Amended” Talc Claimants Committee Is Invalid and Reinstating that

 Committee; and (B) Motion for Order Vacating Appointment of Second Official Committee of

 Talc Claimants and Addition of New Committee Members Filed by Arnold & Itkin LLP [Docket

 No. 1273] or in connection with any pleading filed pursuant to paragraph 4 of that order.

        4.        This Stipulation shall constitute the entire agreement and understanding of TCC I,

 TCC II, AWKO, and the Debtor relating to the subject matter hereof and supersedes all prior




                                                    5
Case 21-30589-MBK         Doc 1516     Filed 02/17/22 Entered 02/17/22 10:06:19        Desc Main
                                     Document      Page 7 of 7



 agreements and understandings between TCC I, TCC II, AWKO, and the Debtor relating to the

 subject matter hereof.

        5.      The Court shall retain jurisdiction to resolve any disputes, controversies, or

 ambiguities arising from this Stipulation.


 AGREED AS TO FORM AND SUBSTANCE:

 SHERMAN, SILVERSTEIN,                              GENOVA BURNS, LLC
 KOHL, ROSE & PODOLSKY, P.A.                        Proposed Local Counsel to the
 Proposed Local Counsel to the                      Official Committee of Talc Claimants I
 Official Committee of Talc Claimants II


 By:    /s/ Arthur J. Abramowitz                    By:    /s/ Daniel M. Stolz
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        rswitkes@shermansilverstein.com                    dclarke@genovaburns.com

 Dated: February 16, 2022                                  Dated: February 16, 2022

 WOLLMUTH MAHER & DEUTSCH LLP                       OFFIT KURMAN, P.A.
 Counsel to the Debtor                              Counsel to Aylstock, Witkin, Kreis &
                                                    Overholtz, PLLC

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 Dated: February 16, 2022                           Dated: February 16, 2022




                                                6
